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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               WAYCROSS DIVISION

UNITED STATES OF AMERICA                     )   CASE# 5:21CR00009
                                             )
vs.                                          )
                                             )
                                             )
Charles Michael King                         )

                               ORDER GRANTING TRAVEL

       Charles Michael King, through undersigned counsel, having filed his Motion to

Permanent Travel to and having served all parties thereto:

        IT IS HEREBY ORDERED that said Unopposed Motion to Permit Travel to is

GRANTED. All other conditions of release remain unmodified.

       The defendant shall be permitted to travel with his family to Inglewood California

scheduled for January 08, 2023, through January 10, 2023. At the conclusion of the scheduled

time frame, the defendant shall promptly return back to the Southern District of Georgia.



         Signed this ____ day of January 2023.




                                     ________________________________________________
                                     Benjamin W. Cheesbro
                                     United States Magistrate Judge
                                     Southern District of Georgia
